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      Attorney for Defendant,
7     AARON EASON
8                              UNITED STATES DISTRICT COURT
9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                    No. CR 18-00759-CJC-4
11                Plaintiff,                       [PROPOSED] ORDER
12                       v.
13   AARON EASON,
14
                 Defendant.
15

16
            For good cause shown, IT IS HEREBY ORDERED THAT:
17
            Defendant, Aaron Eason shall be permitted to appear at the status conference on
18
      March 3, 2022 by video conference.
19

20

21     DATE                                       HONORABLE CORMAC J. CARNEY
                                                  UNITED STATES DISTRICT JUDGE
22
      Presented by:
23
        /s/ John Neil McNicholas
24     John Neil McNicholas
25
       Attorney for Aaron Eason

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